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 6
 7                        IN THE UNITED STATES DISTRICT COURT
 8                             FOR THE DISTRICT OF ARIZONA
 9
     ANDREW E. ZALKOW and ZALKOW                       Case No. 2:14-cv-00243-MHB
10   DISCOUNT SOURCING, an Arizona
     limited liability company,
11
                            Plaintiffs,                Maricopa County Superior Court Case
12                                                     No. CV2014-000186
     v.
13
     TAYMOR INDUSTRIES U.S.A., INC., a                    DEFENDANTS’ RESPONSE TO
14   California corporation; TAYMOR                        PLAINTIFFS’ MOTION TO
     INDUSTRIES LTD., a Canadian                            ENFORCE SETTLEMENT
15   corporation,
16                          Defendants.
17
     I.         INTRODUCTION
18
                On April 9, 2015, to buy peace from meritless intra-family claims, Defendants
19
     Taymor USA and Taymor Ltd. (and the Zalkow family which owns them) offered a
20
     settlement to Andrew Zalkow in "full settlement of all claims."1 (Affidavit of Joseph A.
21
     Schenk, ¶9, attached hereto as Exhibit 1.) On May 20, 2015, Defendants thought they
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     had such a settlement and, on June 9, 2015, they sent a draft settlement agreement
23
     embodying those terms. (Exhibit 1, ¶20.) However, Andy Zalkow responded that he
24
     would settle this litigation, but would not release all claims. Defendants immediately
25
     wrote that their offer was for a full release and nothing less. (Exhibit 1, ¶23.)
26
                Whether Andy Zalkow had a change of heart or the parties had a legitimate
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     misunderstanding, Defendants were not – and are not – interested in anything other than a
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          Notably, Plaintiffs' detailed recitation of settlement communication omits the language
          in Taymor's offer that it was "in full settlement of all claims" between the parties.
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 1   global settlement of all claims. The current Motion – seeking to force a piecemeal

 2   settlement, and leave the door open for new meritless claims – is nothing short of

 3   frivolous.

 4              A.     The Settlement Negotiations.

 5              After a failed mediation and the parties' discussion of a possible second mediation,

 6   Taymor’s counsel sent a letter to Plaintiffs' counsel on April 9, 2014, in which he

 7   addressed the significant problems Plaintiffs would have in establishing their claims, and

 8   concluded:

 9                     Notwithstanding Taymor’s confidence in the ultimate
                       outcome of this litigation, it has authorized me to offer
10                     $300,000 to Andy [Zalkow] in full settlement of all claims
                       against Taymor and Taymor USA. This offer will remain
11                     open for a period of 15 days after the date of this letter.
                       (Exhibit 1, ¶9.)
12
13              Following a series of counteroffers described in Exhibit 1, on May 5, 2015,

14   Taymor’s counsel telephoned Plaintiffs’ counsel and advised him of Taymor’s “cut to the
15   chase” settlement number. (Exhibit 1, ¶15.) Later that same day, the Court issued its

16   May 5, 2015 Preliminary Order, partially granting Taymor's Motion to Dismiss. (Exhibit
17   1, ¶16.) While Taymor viewed this tentative ruling as highly favorable to its position in

18   the litigation, it advised Plaintiffs’ counsel that it would still honor its prior settlement

19   offer. On May 7, 2015, Plaintiffs’ counsel sent an email saying that Plaintiffs had

20   “accepted your clients’ offer of $450,000 in settlement of the pending lawsuit…”.
21   (Exhibit 1, ¶18.) Within three minutes, Taymor’s counsel responded with an email stating

22   “[y]our acceptance of Taymor’s offer is acknowledged. (Exhibit 1, ¶19.)
23              On May 20, 2015, Taymor’s counsel provided a draft Settlement Agreement and

24   Mutual Release (“Settlement Agreement”) to Plaintiffs’ counsel.             (Exhibit 1, ¶20.)

25   Consistent with Taymor’s offer, the draft Settlement Agreement contained a

26   comprehensive mutual release of all claims.           (Id.).   After receiving Taymor’s draft

27   Settlement Agreement, Plaintiffs’ counsel filed a Notice of Settlement with the Court on

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 1   May 21, 2015. (Exhibit 1, ¶21.) However, on June 9, 2015, Plaintiffs’ counsel redrafted

 2   the Settlement Agreement, eliminating the global release and instead releasing only those

 3   claims “expressly asserted in the Lawsuit”. (Exhibit 1, ¶22.)

 4              Two days later, Taymor’s counsel wrote a letter to Plaintiffs’ attorney reiterating

 5   that Taymor's offer was in settlement of all claims, not just those asserted in this lawsuit.

 6   (Exhibit 1, ¶23.)

 7                    Taymor’s decision to pay $450,000 in settlement was not
                      driven by the perceived value of the claims asserted against
 8                    Taymor in this litigation. It was, instead, motivated by a
                      desire to “buy peace” with Andrew Zalkow and to resolve
 9                    any and all claims that Mr. Zalkow believes that he or his
                      company might have against Taymor and its principals. If
10                    Mr. Zalkow is not willing to provide this type of broad
                      mutual release, then it would appear that the parties did not
11                    have a meeting of the minds with respect to this settlement.
                      (Id.)
12
13   On June 15, 2015, Taymor made a final attempt to explain its position regarding the

14   scope of the settlement, and reiterated that it would honor its $450,000 offer in exchange

15   for a full release of all claims. (Exhibit 1, ¶25.) Plaintiffs' next communication was this

16   Motion to Enforce Settlement.

17              B.    Taymor's Only Interest Is To Buy Peace From Frivolous Suits

18              Nate Zalkow, Sam Zalkow, and Vivian Zalkow are, respectively, the father, uncle,

19   and sister of Plaintiff Andrew Zalkow. Andrew Zalkow demanded to be bought out of

20   Taymor, and, on December 31, 2012, his family complied with his request, paying him

21   more than $30,000,000 to purchase all of his interest in Taymor and related companies.

22   As part of the transaction, Andrew Zalkow agreed to release any claims that he might

23   have against Taymor or his family.

24              In January, 2014, Andrew Zalkow filed this lawsuit against Taymor, alleging

25   breach of contract and tortious interference with contractual relations that allegedly

26   occurred in the year following his December 2012 release. This Court has already

27   dismissed much of that suit, and Defendants are confident that they will prevail on the

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 1   remaining claims. In order to end the family squabble up to the present date, Defendants

 2   were willing to pay $450,000; however, to simply replacing the current frivolous action

 3   with another has no value to Taymor. At no time has Taymor been willing to enter into a

 4   settlement absent a full release of all claims. (Exhibit 1, ¶27.)

 5   II.        IF PLAINTIFFS INTENDED ONLY A PARTIAL SETTLEMENT, THEN
                THERE WAS NO MATCHING OFFER AND ACCEPTANCE
 6              It is a fundamental principle of contract law that “the acceptance [of an offer] be
 7   on virtually the exact terms as the offer, and any attempt to accept on terms materially
 8   different from the original offer constitutes a counter-offer, which rejects the offer.”
 9   United California Bank v. Prudential Ins. Co. of America, 140 Ariz. 238, 271 (App.
10   1983), quoting Clark v. Compania Ganadera de Cananea, S.A., 94 Ariz. 391 (1963). As
11   the Arizona Supreme Court held in Clark, “[a]n acceptance must comply exactly with the
12   requirements of the offer, omitting nothing from the promise or performance requested.”
13   Clark, 94 Ariz. at 400.
14              Plaintiffs' May 7, 2015, email accepted Taymor’s settlement offer. (Motion, pp. 1
15   & 3.) Taymor made no offer, ever, except for full settlement of all claims. That is the
16   only offer which could have been accepted. If Plaintiffs' May 7, 2015 email was, in fact,
17   an “exact” acceptance of Taymor’s offer, the parties have reached a settlement agreement
18   which includes a release of all claims. Taymor’s immediate response was that Plaintiffs’
19   “acceptance of Taymor’s offer is acknowledged.” (Exhibit 1, ¶19.) Consistent with this,
20   Taymor’s counsel prepared a draft Settlement Agreement that provided for a “full
21   settlement of all claims”. (Exhibit 1, ¶20.)
22              Based upon the foregoing circumstances, most probably Plaintiffs accepted
23   Taymor’s offer for a full settlement of all claims. If so, the parties have a binding and
24   enforceable settlement. Alternatively, if Plaintiffs stand by their assertion that they only
25   intended to offer a settlement of the specific claims in this lawsuit, it was a counteroffer
26   that effectively amounted to a rejection of Taymor’s offer, and no settlement was
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 1   reached. See Richards v. Simpson, 111 Ariz. 415, 418 (1975); Tennant v. Leary, 82 Ariz.

 2   67, 72 (1957).

 3
     III.       UNDER PLAINTIFFS’ VERSION OF THE FACTS, THERE WAS NO
 4              “MEETING OF THE MINDS”

 5              Taymor's only intent was to negotiate a global settlement of all claims. Indeed, as

 6   Taymor pointed out in its initial settlement letter, Taymor had a Motion to Dismiss

 7   pending with the Court, had obtained favorable signed Declarations from every material

 8   independent witness, and had strong defenses to Plaintiffs’ breach of contract claim.

 9   (Exhibit 1, ¶9.) Taymor’s counsel concluded his settlement letter with the following

10   language:

11                     Notwithstanding Taymor’s confidence in the ultimate
                       outcome of this litigation, it has authorized me to offer
12                     $300,000 to Andy in full settlement of all claims against
                       Taymor and Taymor USA. (Id.)
13
14              During the course of settlement negotiations, Taymor’s position in the litigation
15   only got stronger. On May 5, 2015, this Court released its Preliminary Order in which it
16   indicated that it was inclined to grant substantial portions of Taymor’s pending Motion to
17   Dismiss. (Exhibit 1, ¶16.) Given this context, it would have made no sense for Taymor
18   to offer $450,000 to settle claims on which it was likely to prevail.
19              If one takes Plaintiffs at their word, both sides thought that they had a settlement,
20   but the terms of the perceived settlements were materially different. If so, there was no
21   “meeting of the minds”. The Arizona Supreme Court held in Hill-Shafer Partnership v.
22   Chilson Family Trust, 165 Ariz. 469 (1990):
23                     It is well-established that before a binding contract is formed,
                       the parties must mutually consent to all material terms. A
24                     distinct intent common to both parties must exist without
                       doubt or difference and until all understand alike there can be
25                     no assent…If one party thinks he is buying one thing and the
                       other thinks he is selling another thing, no meeting of the
26                     mind occurs, and no contract is formed. 165 Ariz. at 473.
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 1              Taymor's initial settlement letter expressly sought a “full settlement of all claims

 2   against Taymor and Taymor USA”, and Plaintiffs have submitted their acceptance of

 3   Taymor’s offer “in settlement of the pending lawsuit”. If this evidence is accepted on its

 4   face, then the parties had differing intents when entering into the settlement and there

 5   was, therefore, no “meeting of the minds”.

 6   IV.        LOCAL RULE 83.7 HAS NOT BEEN SATISFIED IN THIS CASE.

 7              Rule 83.7 of the Local Rules of the United States District Court for the District of

 8   Arizona states:
 9                     No agreement between parties or attorneys is binding, if
                       disputed, unless it is in writing signed by the attorney of
10                     record or by the unrepresented party, or made orally in open
                       court and on the record; provided, however, that in the
11                     interest of justice the Court shall have the discretion to reject
                       any such agreement.
12
     As evidenced by the prior discussion, the existence of a binding settlement between
13
14   Plaintiffs and Taymor is “disputed”. Taymor believes that it entered into a settlement

15   that would have resulted in it receiving a global release of all claims by Plaintiffs.

16   Plaintiffs evidently believe that they entered into a settlement that would only require
17   them to give a partial release of the specific claims asserted in this case.
18              In Plaintiffs’ Motion, Plaintiffs assert that the disputed settlement is “in writing”,
19   thereby satisfying the requirements of LR Civ. 83.7. (Motion, p. 10.) They base this
20   contention upon the fact that they sent an email on May 7, 2015, in which they
21   “accepted” Taymor’s offer of $450,000. (Exhibit 1, ¶18.) (Id., pp. 10-11.) However, it
22   is undisputed that the offer that Plaintiffs were purportedly accepting was communicated
23
     orally. The only relevant written communication from Taymor was an email in which
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     Plaintiffs’ “acceptance of Taymor’s offer is acknowledged.” (Exhibit 1, ¶19.) See John
25
     W. Masury & Son v. Bisbee Lumber Co., 49 Ariz. 443, 456 (1937) (“The mere
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     acknowledgement of a debt is not a promise to pay it…..”). The offer that was
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     purportedly accepted by Plaintiffs was not reduced to writing until Taymor provided the
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 1   draft Settlement Agreement. (Exhibit 1, ¶20.) Consequently, the exchange of email

 2   correspondence relied upon by Plaintiffs does not satisfy the “in writing” requirement
 3   imposed by Rule 83.7.
 4              Additionally, the alleged Settlement Agreement was not “signed” by the attorneys
 5   (or by the parties).        Instead, the emails exchanged by the attorneys contained a
 6   typewritten first name. (See Exhibit 1, ¶¶18 & 19.) Standing alone, a typewritten or
 7   electronic signature does not comply with the requirement that a document be “signed”.
 8   See Haywood Securities, Inc. v. Ehrlich, 214 Ariz. 114 (2007). Instead, in order for an
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     electronic signature to satisfy the requirement for a signed document, the name must be
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     affixed to the document “with the intention of signing”. Id., quoting Bishop v. Norell, 88
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     Ariz. 148, 151 (1960) (emphasis in original). In the present case, there is no evidence
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     that either party’s attorney affixed his first name to an email with the intention of it
13
     constituting his signature. Consequently, the record does not support a finding that this
14
     requirement of Rule 83.7 has been satisfied.
15
16              Because the disputed settlement is not reflected in a “writing signed by the

17   attorney of record”, it is not binding on the parties. Local Rule 83.7 was designed to

18   prevent the enforcement of disputed agreements such as the “settlement” that is the
19   subject of Plaintiffs’ Motion.
20   V.         CONCLUSION
21              For the reasons stated herein, there is no written or oral settlement accepting the
22   limited release which Plaintiffs now offer, and Plaintiffs’ Motion to Enforce Settlement
23   should be denied. If Plaintiffs are now deemed to have accepted Taymor's offer to settle
24   all claims, or if they now choose to do so, Taymor is prepared to stipulate to the
25   enforcement of a settlement on the terms that it intended, namely a full release of all
26   claims existing between the parties through the date that the final settlement is signed.
27   Absent that result, Plaintiffs’ Motion should be denied.
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 1              DATED this 27th day of July, 2015.

 2                                                   AIKEN SCHENK HAWKINS & RICCIARDI P.C.

 3
                                                     By /s/ Joseph A. Schenk
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 1                                 CERTIFICATE OF SERVICE

 2              I hereby certify that on this 27th day of July, 2015, I served the foregoing
 3   Defendants’ Response to Plaintiffs’ Motion to Enforce Settlement on the following
 4   parties by electronic transmittal and U.S. mail:
 5
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 6                                    Anthony J. Coury, Esq.
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